Case: 1:12-cv-09100 Document #: 6 Filed: 11/19/12 Page 1 of 9 PageID #:24




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Case: 1:12-cv-09100 Document #: 6 Filed: 11/19/12 Page 2 of 9 PageID #:25
Case: 1:12-cv-09100 Document #: 6 Filed: 11/19/12 Page 3 of 9 PageID #:26
Case: 1:12-cv-09100 Document #: 6 Filed: 11/19/12 Page 4 of 9 PageID #:27
Case: 1:12-cv-09100 Document #: 6 Filed: 11/19/12 Page 5 of 9 PageID #:28
Case: 1:12-cv-09100 Document #: 6 Filed: 11/19/12 Page 6 of 9 PageID #:29
Case: 1:12-cv-09100 Document #: 6 Filed: 11/19/12 Page 7 of 9 PageID #:30
Case: 1:12-cv-09100 Document #: 6 Filed: 11/19/12 Page 8 of 9 PageID #:31
Case: 1:12-cv-09100 Document #: 6 Filed: 11/19/12 Page 9 of 9 PageID #:32
